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                    UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS


Federal Trade Commission

v.                                               Case Number: 3:19−cv−00160

iBackpack of Texas LLC, et al.




                                 Notice of Setting

A proceeding has been set in this case as set forth below.

BEFORE:
Magistrate Judge Andrew M Edison
PLACE:
by telephone
     Dial in Number: 409-763-7881
     Conference ID: 37881#
     Password: 13579#
United States Post Office and Courthouse
601 Rosenberg Street
Galveston, TX 77550


DATE: 5/1/2020
TIME: 01:30 PM
TYPE OF PROCEEDING: Status Conference


Date: April 29, 2020                                         David J. Bradley, Clerk
